            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                             1:16 CR 64-14


UNITED STATES OF AMERICA,              )
                                       )
Vs.                                    )                   ORDER
                                       )
QUINTON JAVON MOSLEY.                  )
                                       )
______________________________________ )


      THIS CAUSE coming on to be heard and being heard before the undersigned

at the close of a Rule 11 proceeding that was held before this Court on August 26,

2016. It appeared to the Court at the call of this matter on for hearing the Defendant

was present with his attorney, Miranda J. Mills and the Government was present and

represented through AUSA Don Gast. From the arguments of counsel for Defendant

and the arguments of the Assistant United States Attorney and the records in this

cause, the Court makes the following findings:

      Findings.    On May 18, 2016 a bill of indictment (#3) was issued charging

the Defendant with conspiracy to traffic in cocaine base, in violation of 21 U.S.C. §

846 and five counts of distributing cocaine base, in violation of 21 U.S.C. §

841(a)(1). On August 26, 2016 the undersigned held an inquiry, pursuant to Rule

11 of the Federal Rules of Criminal Procedure, and accepted a plea of guilty of the


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Defendant to the charge contained in count one which was conspiracy to traffic in

cocaine base, in violation of 21 U.S.C. § 846. At the end of the Rule 11 proceeding,

this Court presented the issue of whether or not Defendant should now be detained,

pursuant to 18 U.S.C. § 3143(a)(2).

      Discussion.    18 U.S.C. § 3143(a)(2) provides as follows:

      (2) The judicial officer shall order that a person who has been found
      guilty of an offense in a case described in subparagraph (A), (B), or (C)
      of subsection (f)(1) of section 3142 and is awaiting imposition or
      execution of sentence be detained unless ----

             (A)(i) the judicial officer finds there is a substantial likelihood
      that a motion for acquittal or new trial will be granted; or

             (ii) an attorney for the Government has recommended that no
             sentence of imprisonment be imposed on the person; or

             (B) the judicial officer finds by clear and convincing evidence
             that the person is not likely to flee or pose a danger to any other
             person or the community.

      From an examination of the records in this cause, it appears Defendant has

entered a plea of guilty to conspiracy to violate 21 U.S.C. § 841(a)(1) and 21 U.S.C.

§ 846. That crime is one of the crimes that is referenced under 18 U.S.C. §

3142(f)(1)(C). The undersigned made an inquiry of AUSA Don Gast as to whether

or not there will be a recommendation that no sentence of imprisonment be imposed

upon Defendant. Mr. Gast advised the Court that such a recommendation could not

be made in this matter.

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      Due to the plea of guilty, the undersigned cannot find there is a likelihood that

a motion for acquittal or new trial will be granted. It would thus appear, and the

Court is of the opinion that the Court is required to apply the factors as set forth

under 18 U.S.C. § 3143(a)(2) which mandate the detention of Defendant.

                                      ORDER

      IT IS, THEREFORE, ORDERED, that the terms and conditions of pretrial

release in this matter are hereby revoked and it is ORDERED that the Defendant be

detained pending further proceedings in this matter.


                                       Signed: August 30, 2016




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